Case:18-10965-TBM Doc#:47 Filed:03/12/18                Entered:03/12/18 15:02:13 Page1 of 1



                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO
                           Bankruptcy Judge Thomas B. McNamara


 In re:
                                                   Bankruptcy Case No. 18-10965 TBM
 11380 SMITH RD, LLC,
                                        Chapter 11
 Debtor.
______________________________________________________________________________

        ORDER AND NOTICE OF ADDITIONAL MATTERS TO BE HEARD
______________________________________________________________________________

        THIS MATTER comes before the Court in connection with the Status Conference
scheduled to commence before Judge Thomas B. McNamara on Friday, March 23, 2018, at
3:00 p.m. in Courtroom E, United States Bankruptcy Court, U. S. Custom House, 721 19th
Street, Denver, Colorado. The Court hereby

        ORDERS that the following matters will be heard in addition to the already scheduled
matter: “Application to Employ CBRE, Inc. as Brokerage Firm for the Estate” filed by Debtor
and the Objection thereto filed by 11380 East Smith Road Investments, LLC (Docket Nos. 14
and 31).

        NOTICE IS FURTHER GIVEN that at the time of the hearing, the Parties shall be
prepared to discuss the status and schedule of the case, present any legal issues related to the
Application to Employ, and advise the Court whether any factual issues require resolution
through an evidentiary hearing. If an evidentiary hearing is required, the parties shall be prepared
to advise the Court regarding the discovery needed and time required to conduct such discovery,
the amount of time required for an evidentiary hearing, and the number of witnesses they
anticipate they will need to call. If it is necessary to receive evidence to resolve the matter, the
scheduled hearing may be used as a scheduling conference and the matter will be reset to a later
date. Counsel/parties shall bring their calendars and be prepared to schedule any further hearing
as required.

          DATED this 12th day of March, 2018.
                                                     BY THE COURT:

                                                     ____________________________________
                                                     _ ______
                                                     __    _ ___________
                                                                      _______
                                                                           _______
                                                                                ____
                                                                                   ____________
                                                                                   __        ____
                                                     Thomas B. McNamara
                                                     United
                                                     U i d States
                                                             S    Bankruptcy
                                                                  B k          Court
                                                                               C      Judge
                                                                                      J d
